Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 1 of 16 PageID: 1993




                               EXHIBIT 7
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 2 of 16 PageID: 1994
                                       Exhibit 7
                               Connecticut Computations

  Week                                               State  Section 7: Section 7: Total Section 7
                                   Hourly    Hours/
 Ending                Name                         Minimum Regular Half-Time Overtime Back
                                    Rate     Week
  Date                                               Wage   Rate Due     Due       Wages Due
  2/5/2017 Amadeo Hernandez         $12.00       59.90   $ 10.10        $   119.40   $    119.40
 2/19/2017 Amadeo Hernandez         $12.00       59.52   $ 10.10        $   117.10   $    117.10
 2/26/2017 Amadeo Hernandez         $12.00       59.90   $ 10.10        $   119.40   $    119.40
  3/5/2017 Amadeo Hernandez         $12.00       60.20   $ 10.10        $   121.20   $    121.20
 3/12/2017 Amadeo Hernandez         $12.00       59.98   $ 10.10        $   119.90   $    119.90
 3/19/2017 Amadeo Hernandez         $12.00       49.25   $ 10.10        $    55.50   $     55.50
 3/26/2017 Amadeo Hernandez         $12.00       60.07   $ 10.10        $   120.40   $    120.40
  4/2/2017 Amadeo Hernandez         $12.00       59.93   $ 10.10        $   119.60   $    119.60
  4/9/2017 Amadeo Hernandez         $12.00       60.18   $ 10.10        $   121.10   $    121.10
 4/16/2017 Amadeo Hernandez         $12.00       56.60   $ 10.10        $    99.60   $     99.60
 4/23/2017 Amadeo Hernandez         $12.00       59.67   $ 10.10        $   118.00   $    118.00
 4/30/2017 Amadeo Hernandez         $12.00       59.25   $ 10.10        $   115.50   $    115.50
  5/7/2017 Amadeo Hernandez         $12.00       60.00   $ 10.10        $   120.00   $    120.00
 5/14/2017 Amadeo Hernandez         $12.00       59.58   $ 10.10        $   117.50   $    117.50
 5/21/2017 Amadeo Hernandez         $12.00       50.52   $ 10.10        $    63.10   $     63.10
 5/28/2017 Amadeo Hernandez         $12.00       60.88   $ 10.10        $   125.30   $    125.30
  6/4/2017 Amadeo Hernandez         $12.00       61.05   $ 10.10        $   126.30   $    126.30
 6/11/2017 Amadeo Hernandez         $12.00       60.18   $ 10.10        $   121.10   $    121.10
 6/18/2017 Amadeo Hernandez         $12.00       60.25   $ 10.10        $   121.50   $    121.50
 6/25/2017 Amadeo Hernandez         $12.00       60.17   $ 10.10        $   121.00   $    121.00
  7/2/2017 Amadeo Hernandez         $12.00       63.48   $ 10.10        $   140.90   $    140.90
  7/9/2017 Amadeo Hernandez         $12.00       51.00   $ 10.10        $    66.00   $     66.00
 7/16/2017 Amadeo Hernandez         $12.00       61.40   $ 10.10        $   128.40   $    128.40
 7/23/2017 Amadeo Hernandez         $12.00       60.02   $ 10.10        $   120.10   $    120.10
 7/30/2017 Amadeo Hernandez         $12.00       62.12   $ 10.10        $   132.70   $    132.70
  8/6/2017 Amadeo Hernandez         $12.00       62.00   $ 10.10        $   132.00   $    132.00
 8/13/2017 Amadeo Hernandez         $12.00       50.00   $ 10.10        $    60.00   $     60.00
 8/20/2017 Amadeo Hernandez         $12.00       60.87   $ 10.10        $   125.20   $    125.20
 8/27/2017 Amadeo Hernandez         $12.00       61.18   $ 10.10        $   127.10   $    127.10
  9/3/2017 Amadeo Hernandez         $12.00       62.12   $ 10.10        $   132.70   $    132.70
 9/10/2017 Amadeo Hernandez         $12.00       57.55   $ 10.10        $   105.30   $    105.30
 9/17/2017 Amadeo Hernandez         $12.00       59.95   $ 10.10        $   119.70   $    119.70
 9/24/2017 Amadeo Hernandez         $12.00       60.20   $ 10.10        $   121.20   $    121.20
 10/1/2017 Amadeo Hernandez         $12.00       62.95   $ 10.10        $   137.70   $    137.70
 10/8/2017 Amadeo Hernandez         $12.00       60.57   $ 10.10        $   123.40   $    123.40
10/15/2017 Amadeo Hernandez         $12.00       50.52   $ 10.10        $    63.10   $     63.10
10/22/2017 Amadeo Hernandez         $12.00       60.12   $ 10.10        $   120.70   $    120.70
10/29/2017 Amadeo Hernandez         $12.00       59.93   $ 10.10        $   119.60   $    119.60
 11/5/2017 Amadeo Hernandez         $12.00       59.25   $ 10.10        $   115.50   $    115.50
11/12/2017 Amadeo Hernandez         $12.00       59.35   $ 10.10        $   116.10   $    116.10
11/19/2017 Amadeo Hernandez         $12.00       59.55   $ 10.10        $   117.30   $    117.30
11/26/2017 Amadeo Hernandez         $12.00       50.17   $ 10.10        $    61.00   $     61.00
 12/3/2017 Amadeo Hernandez         $12.00       60.08   $ 10.10        $   120.50   $    120.50
12/10/2017 Amadeo Hernandez         $12.00       59.28   $ 10.10        $   115.70   $    115.70
12/17/2017 Amadeo Hernandez         $12.00       59.83   $ 10.10        $   119.00   $    119.00
12/24/2017 Amadeo Hernandez         $12.00       59.17   $ 10.10        $   115.00   $    115.00
12/31/2017 Amadeo Hernandez         $12.00       56.12   $ 10.10        $    96.70   $     96.70
  1/7/2018 Amadeo Hernandez         $12.00       44.42   $ 10.10        $    26.50   $     26.50
 1/14/2018 Amadeo Hernandez         $12.00       59.52   $ 10.10        $   117.10   $    117.10
 1/21/2018 Amadeo Hernandez         $12.00       59.73   $ 10.10        $   118.40   $    118.40
 1/28/2018 Amadeo Hernandez         $12.00       59.13   $ 10.10        $   114.80   $    114.80



                                             1
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 3 of 16 PageID: 1995
                                       Exhibit 7
                               Connecticut Computations

  Week                                               State  Section 7: Section 7: Total Section 7
                                   Hourly    Hours/
 Ending                Name                         Minimum Regular Half-Time Overtime Back
                                    Rate     Week
  Date                                               Wage   Rate Due     Due       Wages Due
  2/4/2018 Amadeo Hernandez         $12.00       59.70   $ 10.10        $   118.20   $    118.20
 2/11/2018 Amadeo Hernandez         $12.00       59.10   $ 10.10        $   114.60   $    114.60
 2/18/2018 Amadeo Hernandez         $12.00       60.18   $ 10.10        $   121.10   $    121.10
 2/25/2018 Amadeo Hernandez         $12.00       59.60   $ 10.10        $   117.60   $    117.60
  3/4/2018 Amadeo Hernandez         $12.00       59.93   $ 10.10        $   119.60   $    119.60
 3/25/2018 Amadeo Hernandez         $12.00       59.35   $ 10.10        $   116.10   $    116.10
  4/1/2018 Amadeo Hernandez         $12.00       60.60   $ 10.10        $   123.60   $    123.60
  4/8/2018 Amadeo Hernandez         $12.00       59.78   $ 10.10        $   118.70   $    118.70
 4/15/2018 Amadeo Hernandez         $12.00       61.48   $ 10.10        $   128.90   $    128.90
 4/22/2018 Amadeo Hernandez         $12.00       59.73   $ 10.10        $   118.40   $    118.40
 4/29/2018 Amadeo Hernandez         $12.00       59.92   $ 10.10        $   119.50   $    119.50
  5/6/2018 Amadeo Hernandez         $12.00       55.02   $ 10.10        $    90.10   $     90.10
 5/13/2018 Amadeo Hernandez         $12.00       59.85   $ 10.10        $   119.10   $    119.10
 5/20/2018 Amadeo Hernandez         $12.00       57.18   $ 10.10        $   103.10   $    103.10
 5/27/2018 Amadeo Hernandez         $12.00       60.30   $ 10.10        $   121.80   $    121.80
  6/3/2018 Amadeo Hernandez         $12.00       60.27   $ 10.10        $   121.60   $    121.60
 6/10/2018 Amadeo Hernandez         $12.00       59.80   $ 10.10        $   118.80   $    118.80
 6/17/2018 Amadeo Hernandez         $12.00       59.30   $ 10.10        $   115.80   $    115.80
  7/8/2018 Amadeo Hernandez         $12.00       49.62   $ 10.10        $    57.70   $     57.70
 7/15/2018 Amadeo Hernandez         $12.00       60.65   $ 10.10        $   123.90   $    123.90
 7/22/2018 Amadeo Hernandez         $12.00       59.20   $ 10.10        $   115.20   $    115.20
 7/29/2018 Amadeo Hernandez         $12.00       59.83   $ 10.10        $   119.00   $    119.00
  8/5/2018 Amadeo Hernandez         $12.00       60.25   $ 10.10        $   121.50   $    121.50
 8/12/2018 Amadeo Hernandez         $12.00       59.05   $ 10.10        $   114.30   $    114.30
 8/19/2018 Amadeo Hernandez         $12.00       59.45   $ 10.10        $   116.70   $    116.70
 8/26/2018 Amadeo Hernandez         $12.00       59.72   $ 10.10        $   118.30   $    118.30
  9/2/2018 Amadeo Hernandez         $12.00       60.85   $ 10.10        $   125.10   $    125.10
  9/9/2018 Amadeo Hernandez         $12.00       48.70   $ 10.10        $    52.20   $     52.20
 9/16/2018 Amadeo Hernandez         $12.00       50.33   $ 10.10        $    62.00   $     62.00
 9/23/2018 Amadeo Hernandez         $12.00       58.85   $ 10.10        $   113.10   $    113.10
 9/30/2018 Amadeo Hernandez         $12.00       67.25   $ 10.10        $   163.50   $    163.50
 10/7/2018 Amadeo Hernandez         $12.00       59.98   $ 10.10        $   119.90   $    119.90
10/14/2018 Amadeo Hernandez         $12.00       59.35   $ 10.10        $   116.10   $    116.10
10/21/2018 Amadeo Hernandez         $12.00       50.23   $ 10.10        $    61.40   $     61.40
10/28/2018 Amadeo Hernandez         $12.00       59.27   $ 10.10        $   115.60   $    115.60
 11/4/2018 Amadeo Hernandez         $12.00       59.27   $ 10.10        $   115.60   $    115.60
11/11/2018 Amadeo Hernandez         $12.00       59.83   $ 10.10        $   119.00   $    119.00
11/18/2018 Amadeo Hernandez         $12.00       58.40   $ 10.10        $   110.40   $    110.40
11/25/2018 Amadeo Hernandez         $12.00       49.65   $ 10.10        $    57.90   $     57.90
 12/2/2018 Amadeo Hernandez         $12.00       60.35   $ 10.10        $   122.10   $    122.10
 12/9/2018 Amadeo Hernandez         $12.00       59.02   $ 10.10        $   114.10   $    114.10
12/16/2018 Amadeo Hernandez         $12.00       59.62   $ 10.10        $   117.70   $    117.70
12/23/2018 Amadeo Hernandez         $12.00       60.08   $ 10.10        $   120.50   $    120.50
12/30/2018 Amadeo Hernandez         $12.00       46.12   $ 10.10        $    36.70   $     36.70
  1/6/2019 Amadeo Hernandez         $12.00       49.38   $ 10.10        $    56.30   $     56.30
 1/13/2019 Amadeo Hernandez         $12.00       40.25   $ 10.10        $     1.50   $      1.50
 1/20/2019 Amadeo Hernandez         $12.00       59.50   $ 10.10        $   117.00   $    117.00
 1/27/2019 Amadeo Hernandez         $12.00       59.35   $ 10.10        $   116.10   $    116.10
  2/3/2019 Amadeo Hernandez         $12.00       59.25   $ 10.10        $   115.50   $    115.50
 2/10/2019 Amadeo Hernandez         $12.00       59.37   $ 10.10        $   116.20   $    116.20
 2/17/2019 Amadeo Hernandez         $12.00       57.15   $ 10.10        $   102.90   $    102.90



                                             2
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 4 of 16 PageID: 1996
                                       Exhibit 7
                               Connecticut Computations

  Week                                               State  Section 7: Section 7: Total Section 7
                                   Hourly    Hours/
 Ending                Name                         Minimum Regular Half-Time Overtime Back
                                    Rate     Week
  Date                                               Wage   Rate Due     Due       Wages Due
 2/24/2019 Amadeo Hernandez         $12.00       60.25   $ 10.10              $   121.50   $   121.50
  3/3/2019 Amadeo Hernandez         $12.00       59.65   $ 10.10              $   117.90   $   117.90
 3/10/2019 Amadeo Hernandez         $12.00       59.28   $ 10.10              $   115.70   $   115.70
 3/17/2019 Amadeo Hernandez         $12.00       59.07   $ 10.10              $   114.40   $   114.40
 3/24/2019 Amadeo Hernandez         $12.00       59.77   $ 10.10              $   118.60   $   118.60
 3/31/2019 Amadeo Hernandez         $12.00       59.73   $ 10.10              $   118.40   $   118.40
  4/7/2019 Amadeo Hernandez         $12.00       59.48   $ 10.10              $   116.90   $   116.90
 4/14/2019 Amadeo Hernandez         $12.00       59.50   $ 10.10              $   117.00   $   117.00
 4/21/2019 Amadeo Hernandez         $12.00       60.22   $ 10.10              $   121.30   $   121.30
 4/28/2019 Amadeo Hernandez         $12.00       59.62   $ 10.10              $   117.70   $   117.70
  5/5/2019 Amadeo Hernandez         $12.00       60.65   $ 10.10              $   123.90   $   123.90
 5/12/2019 Amadeo Hernandez         $12.00       59.62   $ 10.10              $   117.70   $   117.70
 5/19/2019 Amadeo Hernandez         $12.00       58.82   $ 10.10              $   112.90   $   112.90
 5/26/2019 Amadeo Hernandez         $12.00       57.42   $ 10.10              $   104.50   $   104.50
  6/2/2019 Amadeo Hernandez         $12.00       56.72   $ 10.10              $   100.30   $   100.30
  6/9/2019 Amadeo Hernandez         $12.00       54.68   $ 10.10              $    88.10   $    88.10
 6/16/2019 Amadeo Hernandez         $12.00       62.02   $ 10.10              $   132.10   $   132.10
 6/23/2019 Amadeo Hernandez         $12.00       58.93   $ 10.10              $   113.60   $   113.60
 6/30/2019 Amadeo Hernandez         $12.00       66.33   $ 10.10              $   158.00   $   158.00
  7/7/2019 Amadeo Hernandez         $12.00       48.87   $ 10.10              $    53.20   $    53.20
 7/14/2019 Amadeo Hernandez         $12.00       58.70   $ 10.10              $   112.20   $   112.20
 7/21/2019 Amadeo Hernandez         $12.00       58.92   $ 10.10              $   113.50   $   113.50
 7/28/2019 Amadeo Hernandez         $12.00       57.37   $ 10.10              $   104.20   $   104.20
  8/4/2019 Amadeo Hernandez         $12.00       60.10   $ 10.10              $   120.60   $   120.60
 8/11/2019 Amadeo Hernandez         $12.00       48.73   $ 10.10              $    52.40   $    52.40
 8/25/2019 Amadeo Hernandez         $12.00       59.18   $ 10.10              $   115.10   $   115.10
  9/1/2019 Amadeo Hernandez         $12.00       58.87   $ 10.10              $   113.20   $   113.20
  9/8/2019 Amadeo Hernandez         $12.00       53.77   $ 10.10              $    82.60   $    82.60
 9/15/2019 Amadeo Hernandez         $12.00       53.48   $ 10.10              $    80.90   $    80.90
 9/22/2019 Amadeo Hernandez         $12.00       54.27   $ 10.10              $    85.60   $    85.60
 9/29/2019 Amadeo Hernandez         $12.00       53.77   $ 10.10              $    82.60   $    82.60
 10/6/2019 Amadeo Hernandez         $12.00       47.60   $ 10.10              $    45.60   $    45.60
10/13/2019 Amadeo Hernandez         $12.00       54.27   $ 10.10              $    85.60   $    85.60
10/20/2019 Amadeo Hernandez         $13.00       55.13   $ 10.10              $    98.37   $    98.37
10/27/2019 Amadeo Hernandez         $13.00       54.87   $ 10.10              $    96.63   $    96.63
 11/3/2019 Amadeo Hernandez         $13.00       55.77   $ 10.10              $   102.48   $   102.48
11/10/2019 Amadeo Hernandez         $13.00       54.25   $ 10.10              $    92.63   $    92.63
11/17/2019 Amadeo Hernandez         $13.00       55.63   $ 10.10              $   101.62   $   101.62
11/24/2019 Amadeo Hernandez         $13.00       53.43   $ 10.10              $    87.32   $    87.32
 12/1/2019 Amadeo Hernandez         $13.00       48.02   $ 10.10              $    52.11   $    52.11
 12/8/2019 Amadeo Hernandez         $13.00       53.97   $ 10.10              $    90.78   $    90.78
12/15/2019 Amadeo Hernandez         $12.00       55.92   $ 10.10              $    95.50   $    95.50
12/22/2019 Amadeo Hernandez         $12.00       56.15   $ 10.10              $    96.90   $    96.90
12/29/2019 Amadeo Hernandez         $12.00       51.18   $ 10.10              $    67.10   $    67.10
  1/5/2020 Amadeo Hernandez         $12.00       46.95   $ 11.00              $    41.70   $    41.70
 1/12/2020 Amadeo Hernandez         $12.00       54.88   $ 11.00              $    89.30   $    89.30
 1/19/2020 Amadeo Hernandez         $12.00       53.77   $ 11.00              $    82.60   $    82.60
 1/26/2020 Amadeo Hernandez         $12.00       55.03   $ 11.00              $    90.20   $    90.20
  2/5/2017 Antonio Vicente          $10.00       59.78   $ 10.10   $   5.98   $    99.91   $   105.88
 2/12/2017 Antonio Vicente          $10.00       49.83   $ 10.10   $   4.98   $    49.66   $    54.64
 2/19/2017 Antonio Vicente          $10.00       60.10   $ 10.10   $   6.01   $   101.51   $   107.52



                                             3
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 5 of 16 PageID: 1997
                                          Exhibit 7
                                  Connecticut Computations

  Week                                                  State  Section 7: Section 7: Total Section 7
                                      Hourly    Hours/
 Ending                  Name                          Minimum Regular Half-Time Overtime Back
                                       Rate     Week
  Date                                                  Wage   Rate Due     Due       Wages Due
 2/26/2017 Antonio Vicente             $10.00       60.17   $ 10.10   $   6.02   $   101.84   $   107.86
  3/5/2017 Antonio Vicente             $10.00       60.27   $ 10.10   $   6.03   $   102.35   $   108.37
 3/12/2017 Antonio Vicente             $10.00       60.13   $ 10.10   $   6.01   $   101.67   $   107.69
 3/19/2017 Antonio Vicente             $10.00       49.75   $ 10.10   $   4.97   $    49.24   $    54.21
 3/26/2017 Antonio Vicente             $10.00       60.12   $ 10.10   $   6.01   $   101.59   $   107.60
  4/2/2017 Antonio Vicente             $10.00       60.18   $ 10.10   $   6.02   $   101.93   $   107.94
  4/9/2017 Antonio Vicente             $10.00       60.28   $ 10.10   $   6.03   $   102.43   $   108.46
 4/16/2017 Antonio Vicente             $10.00       60.07   $ 10.10   $   6.01   $   101.34   $   107.34
 4/23/2017 Antonio Vicente             $10.00       60.30   $ 10.10   $   6.03   $   102.52   $   108.55
 4/30/2017 Antonio Vicente             $10.00       62.08   $ 10.10   $   6.21   $   111.52   $   117.73
  5/7/2017 Antonio Vicente             $10.00       60.43   $ 10.10   $   6.04   $   103.19   $   109.23
 5/14/2017 Antonio Vicente             $10.00       59.83   $ 10.10   $   5.98   $   100.16   $   106.14
 5/21/2017 Antonio Vicente             $10.00       57.10   $ 10.10   $   5.71   $    86.36   $    92.06
 5/28/2017 Antonio Vicente             $10.00       61.18   $ 10.10   $   6.12   $   106.98   $   113.09
  6/4/2017 Antonio Vicente             $10.00       59.12   $ 10.10   $   5.91   $    96.54   $   102.45
 6/11/2017 Antonio Vicente             $10.00       60.27   $ 10.10   $   6.03   $   102.35   $   108.37
 6/18/2017 Antonio Vicente             $10.00       60.30   $ 10.10   $   6.03   $   102.52   $   108.55
 6/25/2017 Antonio Vicente             $10.00       60.37   $ 10.10   $   6.04   $   102.85   $   108.89
  7/2/2017 Antonio Vicente             $10.00       63.40   $ 10.10   $   6.34   $   118.17   $   124.51
  7/9/2017 Antonio Vicente             $10.00       51.02   $ 10.10   $   5.10   $    55.63   $    60.74
 7/16/2017 Antonio Vicente             $10.00       61.42   $ 10.10   $   6.14   $   108.15   $   114.30
 7/23/2017 Antonio Vicente             $10.00       58.17   $ 10.10   $   5.82   $    91.74   $    97.56
 7/30/2017 Antonio Vicente             $10.00       62.13   $ 10.10   $   6.21   $   111.77   $   117.99
  8/6/2017 Antonio Vicente             $10.00       62.02   $ 10.10   $   6.20   $   111.18   $   117.39
 8/13/2017 Antonio Vicente             $10.00       50.07   $ 10.10   $   5.01   $    50.84   $    55.84
 8/20/2017 Antonio Vicente             $10.00       60.90   $ 10.10   $   6.09   $   105.55   $   111.64
 8/27/2017 Antonio Vicente             $10.00       61.22   $ 10.10   $   6.12   $   107.14   $   113.27
  9/3/2017 Antonio Vicente             $10.00       62.10   $ 10.10   $   6.21   $   111.61   $   117.82
 9/10/2017 Antonio Vicente             $10.00       50.75   $ 10.10   $   5.07   $    54.29   $    59.36
 9/17/2017 Antonio Vicente             $10.00       60.43   $ 10.10   $   6.04   $   103.19   $   109.23
 9/24/2017 Antonio Vicente             $10.00       60.05   $ 10.10   $   6.00   $   101.25   $   107.26
 10/1/2017 Antonio Vicente             $10.00       62.95   $ 10.10   $   6.29   $   115.90   $   122.19
 10/8/2017 Antonio Vicente             $10.00       60.63   $ 10.10   $   6.06   $   104.20   $   110.26
10/15/2017 Antonio Vicente             $10.00       59.78   $ 10.10   $   5.98   $    99.91   $   105.88
10/22/2017 Antonio Vicente             $10.00       60.07   $ 10.10   $   6.01   $   101.34   $   107.34
10/29/2017 Antonio Vicente             $10.00       50.90   $ 10.10   $   5.09   $    55.05   $    60.13
  9/8/2019 Carlos Josue Banegas        $10.00       48.47   $ 10.10   $   4.85   $    42.76   $    47.60
 9/15/2019 Carlos Josue Banegas        $10.00       59.60   $ 10.10   $   5.96   $    98.98   $   104.94
 9/22/2019 Carlos Josue Banegas        $10.00       58.90   $ 10.10   $   5.89   $    95.45   $   101.34
 9/29/2019 Carlos Josue Banegas        $10.00       58.38   $ 10.10   $   5.84   $    92.84   $    98.67
 10/6/2019 Carlos Josue Banegas        $10.00       58.82   $ 10.10   $   5.88   $    95.02   $   100.91
10/13/2019 Carlos Josue Banegas        $10.00       58.68   $ 10.10   $   5.87   $    94.35   $   100.22
10/20/2019 Carlos Josue Banegas        $10.00       56.10   $ 10.10   $   5.61   $    81.31   $    86.91
10/27/2019 Carlos Josue Banegas        $10.00       57.90   $ 10.10   $   5.79   $    90.40   $    96.19
 11/3/2019 Carlos Josue Banegas        $10.00       57.05   $ 10.10   $   5.70   $    86.10   $    91.81
11/10/2019 Carlos Josue Banegas        $10.00       56.53   $ 10.10   $   5.65   $    83.49   $    89.15
11/17/2019 Carlos Josue Banegas        $10.00       57.43   $ 10.10   $   5.74   $    88.04   $    93.78
11/24/2019 Carlos Josue Banegas        $10.00       57.15   $ 10.10   $   5.71   $    86.61   $    92.32
 12/8/2019 Carlos Josue Banegas        $10.00       47.82   $ 10.10   $   4.78   $    39.47   $    44.26
12/22/2019 Carlos Josue Banegas        $10.00       56.30   $ 10.10   $   5.63   $    82.32   $    87.95
12/29/2019 Carlos Josue Banegas        $10.00       44.53   $ 10.10   $   4.45   $    22.89   $    27.35



                                                4
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 6 of 16 PageID: 1998
                                           Exhibit 7
                                   Connecticut Computations

  Week                                                   State  Section 7: Section 7: Total Section 7
                                       Hourly    Hours/
 Ending                  Name                           Minimum Regular Half-Time Overtime Back
                                        Rate     Week
  Date                                                   Wage   Rate Due     Due       Wages Due
 1/12/2020 Carlos Josue Banegas         $10.00       42.90   $ 11.00   $   42.90   $    15.95   $    58.85
 1/19/2020 Carlos Josue Banegas         $10.00       57.82   $ 11.00   $   57.82   $    97.99   $   155.81
 1/26/2020 Carlos Josue Banegas         $10.00       55.73   $ 11.00   $   55.73   $    86.53   $   142.27
 1/28/2018 Carlos Valentine             $12.00       45.30   $ 10.10               $    31.80   $    31.80
  2/4/2018 Carlos Valentine             $12.00       48.17   $ 10.10               $    49.00   $    49.00
 2/11/2018 Carlos Valentine             $12.00       48.70   $ 10.10               $    52.20   $    52.20
 2/18/2018 Carlos Valentine             $12.00       48.85   $ 10.10               $    53.10   $    53.10
 2/25/2018 Carlos Valentine             $12.00       48.17   $ 10.10               $    49.00   $    49.00
  3/4/2018 Carlos Valentine             $12.00       48.47   $ 10.10               $    50.80   $    50.80
10/14/2018 Carlos Valentine             $12.00       51.72   $ 10.10               $    70.30   $    70.30
10/21/2018 Carlos Valentine             $12.00       55.08   $ 10.10               $    90.50   $    90.50
10/28/2018 Carlos Valentine             $12.00       47.73   $ 10.10               $    46.40   $    46.40
 11/4/2018 Carlos Valentine             $12.00       52.83   $ 10.10               $    77.00   $    77.00
11/11/2018 Carlos Valentine             $12.00       50.62   $ 10.10               $    63.70   $    63.70
 7/29/2018 Cesar Contreras Colin        $10.00       59.90   $ 10.10   $    5.99   $   100.50   $   106.49
  8/5/2018 Cesar Contreras Colin        $10.00       60.27   $ 10.10   $    6.03   $   102.35   $   108.37
 8/12/2018 Cesar Contreras Colin        $10.00       59.03   $ 10.10   $    5.90   $    96.12   $   102.02
 8/19/2018 Cesar Contreras Colin        $10.00       59.50   $ 10.10   $    5.95   $    98.48   $   104.43
 8/26/2018 Cesar Contreras Colin        $10.00       59.63   $ 10.10   $    5.96   $    99.15   $   105.11
  9/2/2018 Cesar Contreras Colin        $10.00       60.82   $ 10.10   $    6.08   $   105.12   $   111.21
  9/9/2018 Cesar Contreras Colin        $10.00       57.12   $ 10.10   $    5.71   $    86.44   $    92.15
 9/16/2018 Cesar Contreras Colin        $10.00       59.18   $ 10.10   $    5.92   $    96.88   $   102.79
 9/23/2018 Cesar Contreras Colin        $10.00       58.85   $ 10.10   $    5.88   $    95.19   $   101.08
 9/30/2018 Cesar Contreras Colin        $10.00       60.33   $ 10.10   $    6.03   $   102.68   $   108.72
 10/7/2018 Cesar Contreras Colin        $10.00       60.00   $ 10.10   $    6.00   $   101.00   $   107.00
10/14/2018 Cesar Contreras Colin        $10.00       59.35   $ 10.10   $    5.93   $    97.72   $   103.65
10/21/2018 Cesar Contreras Colin        $10.00       59.25   $ 10.10   $    5.92   $    97.21   $   103.14
10/28/2018 Cesar Contreras Colin        $10.00       59.23   $ 10.10   $    5.92   $    97.13   $   103.05
 11/4/2018 Cesar Contreras Colin        $10.00       59.27   $ 10.10   $    5.93   $    97.30   $   103.22
11/11/2018 Cesar Contreras Colin        $10.00       59.85   $ 10.10   $    5.98   $   100.24   $   106.23
11/18/2018 Cesar Contreras Colin        $10.00       58.50   $ 10.10   $    5.85   $    93.43   $    99.28
11/25/2018 Cesar Contreras Colin        $10.00       49.60   $ 10.10   $    4.96   $    48.48   $    53.44
 12/2/2018 Cesar Contreras Colin        $10.00       60.53   $ 10.10   $    6.05   $   103.69   $   109.75
 12/9/2018 Cesar Contreras Colin        $10.00       59.12   $ 10.10   $    5.91   $    96.54   $   102.45
12/16/2018 Cesar Contreras Colin        $10.00       59.60   $ 10.10   $    5.96   $    98.98   $   104.94
12/23/2018 Cesar Contreras Colin        $10.00       50.97   $ 10.10   $    5.10   $    55.38   $    60.48
12/30/2018 Cesar Contreras Colin        $10.00       54.40   $ 10.10   $    5.44   $    72.72   $    78.16
  1/6/2019 Cesar Contreras Colin        $10.00       49.40   $ 10.10   $    4.94   $    47.47   $    52.41
 1/13/2019 Cesar Contreras Colin        $10.00       59.42   $ 10.10   $    5.94   $    98.05   $   104.00
 1/20/2019 Cesar Contreras Colin        $10.00       59.60   $ 10.10   $    5.96   $    98.98   $   104.94
 1/27/2019 Cesar Contreras Colin        $10.00       59.85   $ 10.10   $    5.98   $   100.24   $   106.23
  2/3/2019 Cesar Contreras Colin        $10.00       49.28   $ 10.10   $    4.93   $    46.88   $    51.81
 2/10/2019 Cesar Contreras Colin        $10.00       59.35   $ 10.10   $    5.93   $    97.72   $   103.65
 2/17/2019 Cesar Contreras Colin        $10.00       57.43   $ 10.10   $    5.74   $    88.04   $    93.78
 2/24/2019 Cesar Contreras Colin        $10.00       60.23   $ 10.10   $    6.02   $   102.18   $   108.20
  3/3/2019 Cesar Contreras Colin        $10.00       51.72   $ 10.10   $    5.17   $    59.17   $    64.34
 3/10/2019 Cesar Contreras Colin        $10.00       59.75   $ 10.10   $    5.97   $    99.74   $   105.71
 3/17/2019 Cesar Contreras Colin        $10.00       59.27   $ 10.10   $    5.93   $    97.30   $   103.22
 3/24/2019 Cesar Contreras Colin        $10.00       59.93   $ 10.10   $    5.99   $   100.66   $   106.66
 3/31/2019 Cesar Contreras Colin        $10.00       63.93   $ 10.10   $    6.39   $   120.86   $   127.26
  4/7/2019 Cesar Contreras Colin        $10.00       59.47   $ 10.10   $    5.95   $    98.31   $   104.25



                                                 5
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 7 of 16 PageID: 1999
                                           Exhibit 7
                                   Connecticut Computations

  Week                                                   State  Section 7: Section 7: Total Section 7
                                       Hourly    Hours/
 Ending                   Name                          Minimum Regular Half-Time Overtime Back
                                        Rate     Week
  Date                                                   Wage   Rate Due     Due       Wages Due
 4/14/2019 Cesar Contreras Colin        $10.00       59.48   $ 10.10   $    5.95   $    98.39   $   104.34
 4/21/2019 Cesar Contreras Colin        $10.00       60.22   $ 10.10   $    6.02   $   102.09   $   108.12
 4/28/2019 Cesar Contreras Colin        $10.00       59.60   $ 10.10   $    5.96   $    98.98   $   104.94
  5/5/2019 Cesar Contreras Colin        $10.00       60.70   $ 10.10   $    6.07   $   104.54   $   110.61
 5/12/2019 Cesar Contreras Colin        $10.00       59.30   $ 10.10   $    5.93   $    97.47   $   103.40
 5/19/2019 Cesar Contreras Colin        $10.00       59.02   $ 10.10   $    5.90   $    96.03   $   101.94
 5/26/2019 Cesar Contreras Colin        $10.00       60.42   $ 10.10   $    6.04   $   103.10   $   109.15
  6/2/2019 Cesar Contreras Colin        $10.00       57.32   $ 10.10   $    5.73   $    87.45   $    93.18
  6/9/2019 Cesar Contreras Colin        $10.00       59.10   $ 10.10   $    5.91   $    96.46   $   102.37
 6/16/2019 Cesar Contreras Colin        $10.00       62.32   $ 10.10   $    6.23   $   112.70   $   118.93
 6/23/2019 Cesar Contreras Colin        $10.00       58.98   $ 10.10   $    5.90   $    95.87   $   101.76
 6/30/2019 Cesar Contreras Colin        $10.00       71.67   $ 10.10   $    7.17   $   159.92   $   167.08
  7/7/2019 Cesar Contreras Colin        $10.00       48.82   $ 10.10   $    4.88   $    44.52   $    49.41
 7/14/2019 Cesar Contreras Colin        $10.00       58.67   $ 10.10   $    5.87   $    94.27   $   100.13
 7/21/2019 Cesar Contreras Colin        $10.00       59.37   $ 10.10   $    5.94   $    97.80   $   103.74
 7/28/2019 Cesar Contreras Colin        $10.00       58.58   $ 10.10   $    5.86   $    93.85   $    99.70
  8/4/2019 Cesar Contreras Colin        $10.00       60.42   $ 10.10   $    6.04   $   103.10   $   109.15
 8/11/2019 Cesar Contreras Colin        $10.00       59.42   $ 10.10   $    5.94   $    98.05   $   104.00
 8/18/2019 Cesar Contreras Colin        $10.00       58.78   $ 10.10   $    5.88   $    94.86   $   100.73
 8/25/2019 Cesar Contreras Colin        $10.00       59.20   $ 10.10   $    5.92   $    96.96   $   102.88
  9/1/2019 Cesar Contreras Colin        $10.00       59.22   $ 10.10   $    5.92   $    97.04   $   102.97
  9/8/2019 Cesar Contreras Colin        $10.00       49.07   $ 10.10   $    4.91   $    45.79   $    50.69
 9/15/2019 Cesar Contreras Colin        $10.00       60.40   $ 10.10   $    6.04   $   103.02   $   109.06
 9/22/2019 Cesar Contreras Colin        $10.00       59.35   $ 10.10   $    5.93   $    97.72   $   103.65
 9/29/2019 Cesar Contreras Colin        $10.00       58.50   $ 10.10   $    5.85   $    93.43   $    99.28
 10/6/2019 Cesar Contreras Colin        $10.00       60.48   $ 10.10   $    6.05   $   103.44   $   109.49
10/13/2019 Cesar Contreras Colin        $10.00       58.32   $ 10.10   $    5.83   $    92.50   $    98.33
10/20/2019 Cesar Contreras Colin        $10.00       60.32   $ 10.10   $    6.03   $   102.60   $   108.63
10/27/2019 Cesar Contreras Colin        $10.00       58.87   $ 10.10   $    5.89   $    95.28   $   101.16
 11/3/2019 Cesar Contreras Colin        $10.00       59.72   $ 10.10   $    5.97   $    99.57   $   105.54
11/10/2019 Cesar Contreras Colin        $10.00       58.93   $ 10.10   $    5.89   $    95.61   $   101.51
11/17/2019 Cesar Contreras Colin        $10.00       57.28   $ 10.10   $    5.73   $    87.28   $    93.01
11/24/2019 Cesar Contreras Colin        $10.00       57.42   $ 10.10   $    5.74   $    87.95   $    93.70
 8/25/2019 Cristian Garcia              $11.00       59.33   $ 10.10               $   106.33   $   106.33
  9/1/2019 Cristian Garcia              $11.00       59.27   $ 10.10               $   105.97   $   105.97
  9/8/2019 Cristian Garcia              $11.00       47.13   $ 10.10               $    39.23   $    39.23
 9/15/2019 Cristian Garcia              $11.00       44.97   $ 10.10               $    27.32   $    27.32
 9/22/2019 Cristian Garcia              $11.00       58.75   $ 10.10               $   103.13   $   103.13
 9/29/2019 Cristian Garcia              $11.00       44.82   $ 10.10               $    26.49   $    26.49
 10/6/2019 Cristian Garcia              $11.00       52.13   $ 10.10               $    66.73   $    66.73
10/13/2019 Cristian Garcia              $11.00       47.95   $ 10.10               $    43.73   $    43.73
 11/3/2019 Cristian Garcia              $11.00       49.00   $ 10.10               $    49.50   $    49.50
11/10/2019 Cristian Garcia              $11.00       58.40   $ 10.10               $   101.20   $   101.20
11/17/2019 Cristian Garcia              $11.00       55.80   $ 10.10               $    86.90   $    86.90
11/24/2019 Cristian Garcia              $11.00       58.70   $ 10.10               $   102.85   $   102.85
 12/1/2019 Cristian Garcia              $11.00       42.65   $ 10.10               $    14.58   $    14.58
12/29/2019 Cristian Garcia              $11.00       46.95   $ 10.10               $    38.23   $    38.23
 1/12/2020 Cristian Garcia              $11.00       48.32   $ 11.00               $    45.74   $    45.74
 1/19/2020 Cristian Garcia              $11.00       49.20   $ 11.00               $    50.60   $    50.60
 1/26/2020 Cristian Garcia              $11.00       57.67   $ 11.00               $    97.17   $    97.17
 11/4/2018 Erick Medrano                 $9.50       40.30   $ 10.10   $   24.18   $     1.52   $    25.70



                                                 6
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 8 of 16 PageID: 2000
                                           Exhibit 7
                                   Connecticut Computations

  Week                                                   State  Section 7: Section 7: Total Section 7
                                       Hourly    Hours/
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                        Rate     Week
  Date                                                   Wage   Rate Due     Due       Wages Due
11/11/2018 Erick Medrano                 $9.50       61.75   $ 10.10   $   37.05   $   109.84   $   146.89
11/18/2018 Erick Medrano                 $9.50       62.23   $ 10.10   $   37.34   $   112.28   $   149.62
11/25/2018 Erick Medrano                 $9.50       51.72   $ 10.10   $   31.03   $    59.17   $    90.20
 12/2/2018 Erick Medrano                 $9.50       60.00   $ 10.10   $   36.00   $   101.00   $   137.00
 12/9/2018 Erick Medrano                 $9.50       59.97   $ 10.10   $   35.98   $   100.83   $   136.81
12/16/2018 Erick Medrano                 $9.50       59.73   $ 10.10   $   35.84   $    99.65   $   135.49
12/23/2018 Erick Medrano                 $9.50       59.80   $ 10.10   $   35.88   $    99.99   $   135.87
  1/6/2019 Erick Medrano                 $9.50       51.77   $ 10.10   $   31.06   $    59.42   $    90.48
 1/13/2019 Erick Medrano                 $9.50       59.35   $ 10.10   $   35.61   $    97.72   $   133.33
 1/20/2019 Erick Medrano                 $9.50       61.12   $ 10.10   $   36.67   $   106.64   $   143.31
 1/27/2019 Erick Medrano                 $9.50       59.70   $ 10.10   $   35.82   $    99.49   $   135.31
  2/3/2019 Erick Medrano                 $9.50       59.68   $ 10.10   $   35.81   $    99.40   $   135.21
 2/10/2019 Erick Medrano                 $9.50       59.17   $ 10.10   $   35.50   $    96.79   $   132.29
 2/17/2019 Erick Medrano                 $9.50       55.63   $ 10.10   $   33.38   $    78.95   $   112.33
 2/24/2019 Erick Medrano                 $9.50       50.42   $ 10.10   $   30.25   $    52.60   $    82.85
 3/10/2019 Erick Medrano                 $9.50       60.05   $ 10.10   $   36.03   $   101.25   $   137.28
 3/17/2019 Erick Medrano                 $9.50       49.12   $ 10.10   $   29.47   $    46.04   $    75.51
 3/24/2019 Erick Medrano                 $9.50       59.47   $ 10.10   $   35.68   $    98.31   $   133.99
 3/31/2019 Erick Medrano                 $9.50       56.88   $ 10.10   $   34.13   $    85.26   $   119.39
  4/7/2019 Erick Medrano                 $9.50       57.12   $ 10.10   $   34.27   $    86.44   $   120.71
 4/14/2019 Erick Medrano                 $9.50       57.53   $ 10.10   $   34.52   $    88.54   $   123.06
 4/21/2019 Erick Medrano                 $9.50       58.88   $ 10.10   $   35.33   $    95.36   $   130.69
 4/28/2019 Erick Medrano                 $9.50       58.70   $ 10.10   $   35.22   $    94.44   $   129.66
  5/5/2019 Erick Medrano                 $9.50       56.13   $ 10.10   $   33.68   $    81.47   $   115.15
 1/28/2018 Ever Gutierrez               $11.50       59.68   $ 10.10               $   113.18   $   113.18
  2/4/2018 Ever Gutierrez               $11.50       62.27   $ 10.10               $   128.03   $   128.03
 2/11/2018 Ever Gutierrez               $11.50       61.90   $ 10.10               $   125.93   $   125.93
 2/18/2018 Ever Gutierrez               $11.50       61.07   $ 10.10               $   121.13   $   121.13
 2/25/2018 Ever Gutierrez               $11.50       60.98   $ 10.10               $   120.65   $   120.65
  3/4/2018 Ever Gutierrez               $11.50       62.68   $ 10.10               $   130.43   $   130.43
 3/25/2018 Ever Gutierrez               $11.50       62.02   $ 10.10               $   126.60   $   126.60
  4/1/2018 Ever Gutierrez               $11.50       61.97   $ 10.10               $   126.31   $   126.31
  4/8/2018 Ever Gutierrez               $11.50       61.33   $ 10.10               $   122.67   $   122.67
 4/15/2018 Ever Gutierrez               $11.50       60.13   $ 10.10               $   115.77   $   115.77
 4/22/2018 Ever Gutierrez               $11.50       61.45   $ 10.10               $   123.34   $   123.34
 4/29/2018 Ever Gutierrez               $11.50       60.68   $ 10.10               $   118.93   $   118.93
  5/6/2018 Ever Gutierrez               $11.50       62.22   $ 10.10               $   127.75   $   127.75
 5/13/2018 Ever Gutierrez               $11.50       62.95   $ 10.10               $   131.96   $   131.96
 5/20/2018 Ever Gutierrez               $11.50       60.58   $ 10.10               $   118.35   $   118.35
 5/27/2018 Ever Gutierrez               $11.50       65.30   $ 10.10               $   145.48   $   145.48
  6/3/2018 Ever Gutierrez               $11.50       58.62   $ 10.10               $   107.05   $   107.05
 6/10/2018 Ever Gutierrez               $11.50       61.28   $ 10.10               $   122.38   $   122.38
 6/17/2018 Ever Gutierrez               $11.50       60.17   $ 10.10               $   115.96   $   115.96
 6/24/2018 Ever Gutierrez               $11.50       61.03   $ 10.10               $   120.94   $   120.94
  7/1/2018 Ever Gutierrez               $11.50       66.00   $ 10.10               $   149.50   $   149.50
  7/8/2018 Ever Gutierrez               $11.50       54.82   $ 10.10               $    85.20   $    85.20
 7/15/2018 Ever Gutierrez               $11.50       65.07   $ 10.10               $   144.13   $   144.13
 7/22/2018 Ever Gutierrez               $11.50       65.60   $ 10.10               $   147.20   $   147.20
 7/29/2018 Ever Gutierrez               $11.50       64.60   $ 10.10               $   141.45   $   141.45
  8/5/2018 Ever Gutierrez               $11.50       62.65   $ 10.10               $   130.24   $   130.24
 8/12/2018 Ever Gutierrez               $11.50       63.50   $ 10.10               $   135.13   $   135.13



                                                 7
 Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 9 of 16 PageID: 2001
                                           Exhibit 7
                                   Connecticut Computations

  Week                                                   State  Section 7: Section 7: Total Section 7
                                       Hourly    Hours/
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                        Rate     Week
  Date                                                   Wage   Rate Due     Due       Wages Due
 8/19/2018 Ever Gutierrez               $11.50       64.25   $ 10.10        $   139.44   $    139.44
 8/26/2018 Ever Gutierrez               $11.50       64.85   $ 10.10        $   142.89   $    142.89
  9/2/2018 Ever Gutierrez               $11.50       65.23   $ 10.10        $   145.09   $    145.09
  9/9/2018 Ever Gutierrez               $11.50       61.23   $ 10.10        $   122.09   $    122.09
 9/16/2018 Ever Gutierrez               $11.50       60.92   $ 10.10        $   120.27   $    120.27
 9/23/2018 Ever Gutierrez               $11.50       64.98   $ 10.10        $   143.65   $    143.65
 9/30/2018 Ever Gutierrez               $11.50       61.35   $ 10.10        $   122.76   $    122.76
 10/7/2018 Ever Gutierrez               $11.50       63.45   $ 10.10        $   134.84   $    134.84
10/14/2018 Ever Gutierrez               $11.50       63.20   $ 10.10        $   133.40   $    133.40
10/21/2018 Ever Gutierrez               $11.50       63.72   $ 10.10        $   136.37   $    136.37
10/28/2018 Ever Gutierrez               $11.50       60.45   $ 10.10        $   117.59   $    117.59
 11/4/2018 Ever Gutierrez               $11.50       61.33   $ 10.10        $   122.67   $    122.67
11/11/2018 Ever Gutierrez               $11.50       63.13   $ 10.10        $   133.02   $    133.02
11/18/2018 Ever Gutierrez               $11.50       62.63   $ 10.10        $   130.14   $    130.14
11/25/2018 Ever Gutierrez               $11.50       41.85   $ 10.10        $    10.64   $     10.64
 12/2/2018 Ever Gutierrez               $11.50       50.82   $ 10.10        $    62.20   $     62.20
12/16/2018 Ever Gutierrez               $11.50       50.90   $ 10.10        $    62.68   $     62.68
12/23/2018 Ever Gutierrez               $11.50       61.33   $ 10.10        $   122.67   $    122.67
12/30/2018 Ever Gutierrez               $11.50       48.48   $ 10.10        $    48.78   $     48.78
  1/6/2019 Ever Gutierrez               $11.50       53.07   $ 10.10        $    75.13   $     75.13
 1/13/2019 Ever Gutierrez               $11.50       62.25   $ 10.10        $   127.94   $    127.94
 1/20/2019 Ever Gutierrez               $11.50       66.62   $ 10.10        $   153.05   $    153.05
 1/27/2019 Ever Gutierrez               $11.50       63.80   $ 10.10        $   136.85   $    136.85
  2/3/2019 Ever Gutierrez               $11.50       61.03   $ 10.10        $   120.94   $    120.94
 2/10/2019 Ever Gutierrez               $11.50       62.05   $ 10.10        $   126.79   $    126.79
 2/17/2019 Ever Gutierrez               $11.50       65.23   $ 10.10        $   145.09   $    145.09
 2/24/2019 Ever Gutierrez               $11.50       51.47   $ 10.10        $    65.93   $     65.93
  3/3/2019 Ever Gutierrez               $11.50       41.52   $ 10.10        $     8.72   $      8.72
 3/10/2019 Ever Gutierrez               $11.50       62.65   $ 10.10        $   130.24   $    130.24
 3/17/2019 Ever Gutierrez               $11.50       61.63   $ 10.10        $   124.39   $    124.39
 3/24/2019 Ever Gutierrez               $11.50       61.38   $ 10.10        $   122.95   $    122.95
 3/31/2019 Ever Gutierrez               $11.50       60.97   $ 10.10        $   120.56   $    120.56
  4/7/2019 Ever Gutierrez               $11.50       61.07   $ 10.10        $   121.13   $    121.13
 4/14/2019 Ever Gutierrez               $11.50       61.02   $ 10.10        $   120.85   $    120.85
 4/21/2019 Ever Gutierrez               $11.50       61.30   $ 10.10        $   122.48   $    122.48
 4/28/2019 Ever Gutierrez               $11.50       60.90   $ 10.10        $   120.18   $    120.18
  5/5/2019 Ever Gutierrez               $11.50       61.88   $ 10.10        $   125.83   $    125.83
 5/12/2019 Ever Gutierrez               $11.50       62.58   $ 10.10        $   129.85   $    129.85
 5/19/2019 Ever Gutierrez               $11.50       61.93   $ 10.10        $   126.12   $    126.12
 5/26/2019 Ever Gutierrez               $11.50       64.20   $ 10.10        $   139.15   $    139.15
  6/2/2019 Ever Gutierrez               $11.50       53.70   $ 10.10        $    78.78   $     78.78
  6/9/2019 Ever Gutierrez               $11.50       63.97   $ 10.10        $   137.81   $    137.81
 6/16/2019 Ever Gutierrez               $11.50       64.58   $ 10.10        $   141.35   $    141.35
 6/23/2019 Ever Gutierrez               $11.50       64.47   $ 10.10        $   140.68   $    140.68
 6/30/2019 Ever Gutierrez               $11.50       64.48   $ 10.10        $   140.78   $    140.78
  7/7/2019 Ever Gutierrez               $13.00       53.23   $ 10.10        $    86.02   $     86.02
 7/14/2019 Ever Gutierrez               $13.00       62.52   $ 10.10        $   146.36   $    146.36
 7/21/2019 Ever Gutierrez               $13.00       62.82   $ 10.10        $   148.31   $    148.31
 7/28/2019 Ever Gutierrez               $13.00       64.73   $ 10.10        $   160.77   $    160.77
  8/4/2019 Ever Gutierrez               $13.00       63.92   $ 10.10        $   155.46   $    155.46
 8/11/2019 Ever Gutierrez               $13.00       67.77   $ 10.10        $   180.48   $    180.48



                                                 8
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 10 of 16 PageID: 2002
                                           Exhibit 7
                                   Connecticut Computations

  Week                                                   State  Section 7: Section 7: Total Section 7
                                       Hourly    Hours/
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                        Rate     Week
  Date                                                   Wage   Rate Due     Due       Wages Due
 8/18/2019 Ever Gutierrez               $13.00       62.97   $ 10.10               $   149.28   $   149.28
 8/25/2019 Ever Gutierrez               $13.00       62.75   $ 10.10               $   147.88   $   147.88
  9/1/2019 Ever Gutierrez               $13.00       63.83   $ 10.10               $   154.92   $   154.92
  9/8/2019 Ever Gutierrez               $13.00       61.60   $ 10.10               $   140.40   $   140.40
 9/15/2019 Ever Gutierrez               $13.00       61.95   $ 10.10               $   142.68   $   142.68
 9/22/2019 Ever Gutierrez               $13.00       62.48   $ 10.10               $   146.14   $   146.14
 9/29/2019 Ever Gutierrez               $13.00       62.15   $ 10.10               $   143.98   $   143.98
 10/6/2019 Ever Gutierrez               $13.00       62.43   $ 10.10               $   145.82   $   145.82
10/13/2019 Ever Gutierrez               $13.00       62.50   $ 10.10               $   146.25   $   146.25
10/20/2019 Ever Gutierrez               $13.00       61.97   $ 10.10               $   142.78   $   142.78
10/27/2019 Ever Gutierrez               $13.00       63.43   $ 10.10               $   152.32   $   152.32
 11/3/2019 Ever Gutierrez               $13.00       62.03   $ 10.10               $   143.22   $   143.22
11/10/2019 Ever Gutierrez               $13.00       62.80   $ 10.10               $   148.20   $   148.20
11/17/2019 Ever Gutierrez               $13.00       61.50   $ 10.10               $   139.75   $   139.75
11/24/2019 Ever Gutierrez               $13.00       61.10   $ 10.10               $   137.15   $   137.15
 12/8/2019 Ever Gutierrez               $13.00       40.40   $ 10.10               $     2.60   $     2.60
12/15/2019 Ever Gutierrez               $13.00       61.10   $ 10.10               $   137.15   $   137.15
12/22/2019 Ever Gutierrez               $13.00       60.82   $ 10.10               $   135.31   $   135.31
12/29/2019 Ever Gutierrez               $13.00       47.65   $ 10.10               $    49.73   $    49.73
  1/5/2020 Ever Gutierrez               $13.00       51.03   $ 11.00               $    71.72   $    71.72
 1/12/2020 Ever Gutierrez               $13.00       62.37   $ 11.00               $   145.38   $   145.38
 1/19/2020 Ever Gutierrez               $13.00       61.33   $ 11.00               $   138.67   $   138.67
 1/26/2020 Ever Gutierrez               $13.00       61.53   $ 11.00               $   139.97   $   139.97
 7/29/2018 Jason Martinez                $9.50       48.88   $ 10.10   $   29.33   $    44.86   $    74.19
  8/5/2018 Jason Martinez                $9.50       51.40   $ 10.10   $   30.84   $    57.57   $    88.41
 8/12/2018 Jason Martinez                $9.50       58.13   $ 10.10   $   34.88   $    91.57   $   126.45
 8/19/2018 Jason Martinez                $9.50       55.18   $ 10.10   $   33.11   $    76.68   $   109.79
 8/26/2018 Jason Martinez                $9.50       51.67   $ 10.10   $   31.00   $    58.92   $    89.92
  9/2/2018 Jason Martinez                $9.50       57.55   $ 10.10   $   34.53   $    88.63   $   123.16
  9/9/2018 Jason Martinez                $9.50       48.27   $ 10.10   $   28.96   $    41.75   $    70.71
 9/16/2018 Jason Martinez                $9.50       45.17   $ 10.10   $   27.10   $    26.09   $    53.19
 9/23/2018 Jason Martinez                $9.50       49.68   $ 10.10   $   29.81   $    48.90   $    78.71
 3/25/2018 Joel Zepeda                  $10.50       60.25   $ 10.10               $   106.31   $   106.31
  4/1/2018 Joel Zepeda                  $10.50       60.17   $ 10.10               $   105.88   $   105.88
  4/8/2018 Joel Zepeda                  $10.50       59.87   $ 10.10               $   104.30   $   104.30
 4/15/2018 Joel Zepeda                  $10.50       59.50   $ 10.10               $   102.38   $   102.38
 4/22/2018 Joel Zepeda                  $10.50       59.48   $ 10.10               $   102.29   $   102.29
 4/29/2018 Joel Zepeda                  $10.50       59.48   $ 10.10               $   102.29   $   102.29
  5/6/2018 Joel Zepeda                  $10.50       60.78   $ 10.10               $   109.11   $   109.11
 5/20/2018 Joel Zepeda                  $10.50       59.80   $ 10.10               $   103.95   $   103.95
 5/27/2018 Joel Zepeda                  $10.50       63.32   $ 10.10               $   122.41   $   122.41
  6/3/2018 Joel Zepeda                  $10.50       49.40   $ 10.10               $    49.35   $    49.35
 6/10/2018 Joel Zepeda                  $10.50       59.70   $ 10.10               $   103.43   $   103.43
 6/17/2018 Joel Zepeda                  $10.50       54.72   $ 10.10               $    77.26   $    77.26
 6/24/2018 Joel Zepeda                  $10.50       57.58   $ 10.10               $    92.31   $    92.31
  7/1/2018 Joel Zepeda                  $10.50       60.48   $ 10.10               $   107.54   $   107.54
  7/8/2018 Joel Zepeda                  $10.50       49.62   $ 10.10               $    50.49   $    50.49
 7/15/2018 Joel Zepeda                  $10.50       62.98   $ 10.10               $   120.66   $   120.66
 7/22/2018 Joel Zepeda                  $10.50       50.50   $ 10.10               $    55.13   $    55.13
 7/29/2018 Joel Zepeda                  $10.50       52.30   $ 10.10               $    64.57   $    64.57
  8/5/2018 Joel Zepeda                  $10.50       52.35   $ 10.10               $    64.84   $    64.84



                                                 9
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 11 of 16 PageID: 2003
                                        Exhibit 7
                                Connecticut Computations

  Week                                                State  Section 7: Section 7: Total Section 7
                                    Hourly    Hours/
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                     Rate     Week
  Date                                                Wage   Rate Due     Due       Wages Due
 8/12/2018 Joel Zepeda               $10.50       61.73   $ 10.10        $   114.10   $    114.10
 8/19/2018 Joel Zepeda               $10.50       61.70   $ 10.10        $   113.93   $    113.93
 8/26/2018 Joel Zepeda               $10.50       56.83   $ 10.10        $    88.38   $     88.38
  9/2/2018 Joel Zepeda               $10.50       63.23   $ 10.10        $   121.98   $    121.98
  9/9/2018 Joel Zepeda               $10.50       48.22   $ 10.10        $    43.14   $     43.14
 9/23/2018 Joel Zepeda               $10.50       64.78   $ 10.10        $   130.11   $    130.11
 9/30/2018 Joel Zepeda               $10.50       61.23   $ 10.10        $   111.48   $    111.48
 10/7/2018 Joel Zepeda               $10.50       61.90   $ 10.10        $   114.98   $    114.98
10/14/2018 Joel Zepeda               $10.50       62.30   $ 10.10        $   117.08   $    117.08
10/21/2018 Joel Zepeda               $10.50       63.52   $ 10.10        $   123.46   $    123.46
10/28/2018 Joel Zepeda               $10.50       59.67   $ 10.10        $   103.25   $    103.25
 11/4/2018 Joel Zepeda               $10.50       50.52   $ 10.10        $    55.21   $     55.21
11/11/2018 Joel Zepeda               $10.50       62.02   $ 10.10        $   115.59   $    115.59
11/18/2018 Joel Zepeda               $10.50       62.15   $ 10.10        $   116.29   $    116.29
11/25/2018 Joel Zepeda               $10.50       45.03   $ 10.10        $    26.43   $     26.43
 12/2/2018 Joel Zepeda               $10.50       60.77   $ 10.10        $   109.03   $    109.03
 12/9/2018 Joel Zepeda               $10.50       60.53   $ 10.10        $   107.80   $    107.80
12/16/2018 Joel Zepeda               $10.50       60.37   $ 10.10        $   106.93   $    106.93
12/23/2018 Joel Zepeda               $10.50       59.82   $ 10.10        $   104.04   $    104.04
  1/6/2019 Joel Zepeda               $10.50       51.67   $ 10.10        $    61.25   $     61.25
 1/13/2019 Joel Zepeda               $10.50       58.42   $ 10.10        $    96.69   $     96.69
 1/20/2019 Joel Zepeda               $10.50       62.45   $ 10.10        $   117.86   $    117.86
 1/27/2019 Joel Zepeda               $10.50       56.67   $ 10.10        $    87.50   $     87.50
  2/3/2019 Joel Zepeda               $10.50       59.65   $ 10.10        $   103.16   $    103.16
 2/10/2019 Joel Zepeda               $10.50       59.20   $ 10.10        $   100.80   $    100.80
 2/17/2019 Joel Zepeda               $10.50       59.52   $ 10.10        $   102.46   $    102.46
 2/24/2019 Joel Zepeda               $10.50       50.65   $ 10.10        $    55.91   $     55.91
 3/10/2019 Joel Zepeda               $10.50       60.40   $ 10.10        $   107.10   $    107.10
 3/17/2019 Joel Zepeda               $10.50       59.17   $ 10.10        $   100.63   $    100.63
 3/24/2019 Joel Zepeda               $10.50       59.45   $ 10.10        $   102.11   $    102.11
 3/31/2019 Joel Zepeda               $10.50       58.90   $ 10.10        $    99.23   $     99.23
  4/7/2019 Joel Zepeda               $10.50       54.15   $ 10.10        $    74.29   $     74.29
 4/14/2019 Joel Zepeda               $10.50       56.65   $ 10.10        $    87.41   $     87.41
 4/21/2019 Joel Zepeda               $10.50       57.20   $ 10.10        $    90.30   $     90.30
 4/28/2019 Joel Zepeda               $10.50       55.12   $ 10.10        $    79.36   $     79.36
  5/5/2019 Joel Zepeda               $10.50       56.17   $ 10.10        $    84.88   $     84.88
 5/12/2019 Joel Zepeda               $10.50       56.85   $ 10.10        $    88.46   $     88.46
 5/19/2019 Joel Zepeda               $10.50       59.60   $ 10.10        $   102.90   $    102.90
 5/26/2019 Joel Zepeda               $10.50       62.00   $ 10.10        $   115.50   $    115.50
  6/2/2019 Joel Zepeda               $10.50       52.00   $ 10.10        $    63.00   $     63.00
  6/9/2019 Joel Zepeda               $10.50       59.70   $ 10.10        $   103.43   $    103.43
 6/30/2019 Joel Zepeda               $10.50       52.42   $ 10.10        $    65.19   $     65.19
  7/7/2019 Joel Zepeda               $11.00       45.83   $ 10.10        $    32.08   $     32.08
 7/14/2019 Joel Zepeda               $11.00       49.48   $ 10.10        $    52.16   $     52.16
 7/21/2019 Joel Zepeda               $11.00       59.48   $ 10.10        $   107.16   $    107.16
 7/28/2019 Joel Zepeda               $11.00       59.03   $ 10.10        $   104.68   $    104.68
  8/4/2019 Joel Zepeda               $11.00       59.03   $ 10.10        $   104.68   $    104.68
 8/11/2019 Joel Zepeda               $11.00       65.93   $ 10.10        $   142.63   $    142.63
 8/18/2019 Joel Zepeda               $11.00       59.55   $ 10.10        $   107.53   $    107.53
  9/1/2019 Joel Zepeda               $11.00       49.18   $ 10.10        $    50.51   $     50.51
  9/8/2019 Joel Zepeda               $11.00       49.25   $ 10.10        $    50.88   $     50.88



                                             10
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 12 of 16 PageID: 2004
                                            Exhibit 7
                                    Connecticut Computations

  Week                                                    State  Section 7: Section 7: Total Section 7
                                        Hourly    Hours/
 Ending                  Name                            Minimum Regular Half-Time Overtime Back
                                         Rate     Week
  Date                                                    Wage   Rate Due     Due       Wages Due
 9/15/2019 Joel Zepeda                   $11.00       42.93   $ 10.10               $    16.13   $    16.13
 9/22/2019 Joel Zepeda                   $11.00       59.43   $ 10.10               $   106.88   $   106.88
 9/29/2019 Joel Zepeda                   $11.00       57.63   $ 10.10               $    96.98   $    96.98
 10/6/2019 Joel Zepeda                   $11.00       59.67   $ 10.10               $   108.17   $   108.17
10/13/2019 Joel Zepeda                   $11.00       59.75   $ 10.10               $   108.63   $   108.63
10/20/2019 Joel Zepeda                   $11.00       52.87   $ 10.10               $    70.77   $    70.77
10/27/2019 Joel Zepeda                   $11.00       58.40   $ 10.10               $   101.20   $   101.20
 11/3/2019 Joel Zepeda                   $11.00       58.32   $ 10.10               $   100.74   $   100.74
11/10/2019 Joel Zepeda                   $11.00       58.95   $ 10.10               $   104.23   $   104.23
 12/1/2019 Joel Zepeda                   $11.00       43.70   $ 10.10               $    20.35   $    20.35
12/15/2019 Joel Zepeda                   $11.00       59.62   $ 10.10               $   107.89   $   107.89
12/22/2019 Joel Zepeda                   $11.00       59.67   $ 10.10               $   108.17   $   108.17
12/29/2019 Joel Zepeda                   $11.00       44.62   $ 10.10               $    25.39   $    25.39
  1/5/2020 Joel Zepeda                   $11.00       48.87   $ 11.00               $    48.77   $    48.77
 1/12/2020 Joel Zepeda                   $11.00       60.13   $ 11.00               $   110.73   $   110.73
 1/19/2020 Joel Zepeda                   $11.00       59.17   $ 11.00               $   105.42   $   105.42
 1/26/2020 Joel Zepeda                   $11.00       54.57   $ 11.00               $    80.12   $    80.12
 12/8/2019 Jose Antonio Hernandez        $13.00       61.02   $ 10.10               $   136.61   $   136.61
12/15/2019 Jose Antonio Hernandez        $10.00       58.98   $ 10.10   $    5.90   $    95.87   $   101.76
12/22/2019 Jose Antonio Hernandez        $10.00       59.18   $ 10.10   $    5.92   $    96.88   $   102.79
12/29/2019 Jose Antonio Hernandez        $10.00       47.95   $ 10.10   $    4.79   $    40.15   $    44.94
  1/5/2020 Jose Antonio Hernandez        $10.00       49.02   $ 11.00   $   49.02   $    49.59   $    98.61
 1/12/2020 Jose Antonio Hernandez        $10.00       59.58   $ 11.00   $   59.58   $   107.71   $   167.29
 1/19/2020 Jose Antonio Hernandez        $10.00       58.68   $ 11.00   $   58.68   $   102.76   $   161.44
 1/26/2020 Jose Antonio Hernandez        $10.00       59.17   $ 11.00   $   59.17   $   105.42   $   164.58
 9/15/2019 Joshua Ayala                  $10.50       48.72   $ 10.10               $    45.76   $    45.76
 9/22/2019 Joshua Ayala                  $10.50       60.72   $ 10.10               $   108.76   $   108.76
 9/29/2019 Joshua Ayala                  $10.50       60.08   $ 10.10               $   105.44   $   105.44
 10/6/2019 Joshua Ayala                  $10.50       44.77   $ 10.10               $    25.03   $    25.03
10/13/2019 Joshua Ayala                  $10.50       57.82   $ 10.10               $    93.54   $    93.54
 8/25/2019 Kevin Garcia                  $11.00       59.32   $ 10.10               $   106.24   $   106.24
  9/1/2019 Kevin Garcia                  $11.00       59.15   $ 10.10               $   105.33   $   105.33
  9/8/2019 Kevin Garcia                  $11.00       48.10   $ 10.10               $    44.55   $    44.55
 9/15/2019 Kevin Garcia                  $11.00       44.98   $ 10.10               $    27.41   $    27.41
 9/22/2019 Kevin Garcia                  $11.00       53.88   $ 10.10               $    76.36   $    76.36
 9/29/2019 Kevin Garcia                  $11.00       54.78   $ 10.10               $    81.31   $    81.31
 10/6/2019 Kevin Garcia                  $11.00       47.05   $ 10.10               $    38.78   $    38.78
10/13/2019 Kevin Garcia                  $11.00       47.98   $ 10.10               $    43.91   $    43.91
10/20/2019 Kevin Garcia                  $11.00       48.00   $ 10.10               $    44.00   $    44.00
10/27/2019 Kevin Garcia                  $11.00       49.62   $ 10.10               $    52.89   $    52.89
 11/3/2019 Kevin Garcia                  $11.00       48.95   $ 10.10               $    49.23   $    49.23
11/10/2019 Kevin Garcia                  $11.00       58.23   $ 10.10               $   100.28   $   100.28
11/17/2019 Kevin Garcia                  $11.00       48.50   $ 10.10               $    46.75   $    46.75
11/24/2019 Kevin Garcia                  $11.00       58.83   $ 10.10               $   103.58   $   103.58
 12/1/2019 Kevin Garcia                  $11.00       43.40   $ 10.10               $    18.70   $    18.70
 12/8/2019 Kevin Garcia                  $11.00       57.07   $ 10.10               $    93.87   $    93.87
12/15/2019 Kevin Garcia                  $11.00       41.08   $ 10.10               $     5.96   $     5.96
12/22/2019 Kevin Garcia                  $11.00       58.50   $ 10.10               $   101.75   $   101.75
12/29/2019 Kevin Garcia                  $11.00       45.17   $ 10.10               $    28.42   $    28.42
  1/5/2020 Kevin Garcia                  $11.00       48.43   $ 11.00               $    46.38   $    46.38
 1/12/2020 Kevin Garcia                  $11.00       53.72   $ 11.00               $    75.44   $    75.44



                                                 11
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 13 of 16 PageID: 2005
                                                   Exhibit 7
                                           Connecticut Computations

  Week                                                            State  Section 7: Section 7: Total Section 7
                                                Hourly    Hours/
 Ending                  Name                                    Minimum Regular Half-Time Overtime Back
                                                 Rate     Week
  Date                                                            Wage   Rate Due     Due       Wages Due
 1/19/2020 Kevin Garcia                          $11.00       48.35   $ 11.00              $    45.93   $    45.93
 1/26/2020 Kevin Garcia                          $11.00       48.97   $ 11.00              $    49.32   $    49.32
 12/9/2018 Luis Rafael Salobo-On Site Manager    $14.00       57.65   $ 10.10              $   123.55   $   123.55
12/16/2018 Luis Rafael Salobo-On Site Manager    $14.00       60.27   $ 10.10              $   141.87   $   141.87
12/23/2018 Luis Rafael Salobo-On Site Manager    $14.00       59.50   $ 10.10              $   136.50   $   136.50
  1/6/2019 Luis Rafael Salobo-On Site Manager    $14.00       49.50   $ 10.10              $    66.50   $    66.50
 1/13/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.58   $ 10.10              $   137.08   $   137.08
 1/20/2019 Luis Rafael Salobo-On Site Manager    $14.00       45.92   $ 10.10              $    41.42   $    41.42
 1/27/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.02   $ 10.10              $   133.12   $   133.12
  2/3/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.35   $ 10.10              $   135.45   $   135.45
 2/10/2019 Luis Rafael Salobo-On Site Manager    $14.00       60.17   $ 10.10              $   141.17   $   141.17
 2/17/2019 Luis Rafael Salobo-On Site Manager    $14.00       64.00   $ 10.10              $   168.00   $   168.00
 2/24/2019 Luis Rafael Salobo-On Site Manager    $14.00       50.83   $ 10.10              $    75.83   $    75.83
 3/10/2019 Luis Rafael Salobo-On Site Manager    $14.00       60.53   $ 10.10              $   143.73   $   143.73
 3/17/2019 Luis Rafael Salobo-On Site Manager    $14.00       60.35   $ 10.10              $   142.45   $   142.45
 3/24/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.88   $ 10.10              $   139.18   $   139.18
 3/31/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.67   $ 10.10              $   137.67   $   137.67
  4/7/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.75   $ 10.10              $   138.25   $   138.25
 4/14/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.83   $ 10.10              $   138.83   $   138.83
 4/21/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.88   $ 10.10              $   139.18   $   139.18
 4/28/2019 Luis Rafael Salobo-On Site Manager    $14.00       59.17   $ 10.10              $   134.17   $   134.17
  5/5/2019 Luis Rafael Salobo-On Site Manager    $14.00       60.30   $ 10.10              $   142.10   $   142.10
 5/12/2019 Luis Rafael Salobo-On Site Manager    $14.00       60.70   $ 10.10              $   144.90   $   144.90
 5/19/2019 Luis Rafael Salobo-On Site Manager    $14.00       60.08   $ 10.10              $   140.58   $   140.58
 5/26/2019 Luis Rafael Salobo-On Site Manager    $14.00       62.35   $ 10.10              $   156.45   $   156.45
  6/2/2019 Luis Rafael Salobo-On Site Manager    $14.00       52.60   $ 10.10              $    88.20   $    88.20
  6/9/2019 Luis Rafael Salobo-On Site Manager    $14.00       62.23   $ 10.10              $   155.63   $   155.63
 6/16/2019 Luis Rafael Salobo-On Site Manager    $14.00       62.18   $ 10.10              $   155.28   $   155.28
 6/23/2019 Luis Rafael Salobo-On Site Manager    $14.00       61.82   $ 10.10              $   152.72   $   152.72
 6/30/2019 Luis Rafael Salobo-On Site Manager    $14.00       62.52   $ 10.10              $   157.62   $   157.62
  7/7/2019 Luis Rafael Salobo-On Site Manager    $16.00       50.42   $ 10.10              $    83.33   $    83.33
 7/14/2019 Luis Rafael Salobo-On Site Manager    $16.00       59.78   $ 10.10              $   158.27   $   158.27
 7/21/2019 Luis Rafael Salobo-On Site Manager    $16.00       60.10   $ 10.10              $   160.80   $   160.80
 7/28/2019 Luis Rafael Salobo-On Site Manager    $16.00       62.00   $ 10.10              $   176.00   $   176.00
  8/4/2019 Luis Rafael Salobo-On Site Manager    $16.00       60.13   $ 10.10              $   161.07   $   161.07
 8/11/2019 Luis Rafael Salobo-On Site Manager    $16.00       48.95   $ 10.10              $    71.60   $    71.60
 8/18/2019 Luis Rafael Salobo-On Site Manager    $16.00       64.40   $ 10.10              $   195.20   $   195.20
12/17/2017 Marco A. Colin                        $10.00       51.13   $ 10.10   $   5.11   $    56.22   $    61.34
12/24/2017 Marco A. Colin                        $10.00       59.18   $ 10.10   $   5.92   $    96.88   $   102.79
12/31/2017 Marco A. Colin                        $10.00       50.98   $ 10.10   $   5.10   $    55.47   $    60.56
 1/14/2018 Marco A. Colin                        $10.00       56.77   $ 10.10   $   5.68   $    84.67   $    90.35
 1/21/2018 Marco A. Colin                        $10.00       43.52   $ 10.10   $   4.35   $    17.76   $    22.11
 1/28/2018 Marco A. Colin                        $10.00       53.98   $ 10.10   $   5.40   $    70.62   $    76.01
  2/4/2018 Marco A. Colin                        $10.00       55.47   $ 10.10   $   5.55   $    78.11   $    83.65
 2/11/2018 Marco A. Colin                        $10.00       40.08   $ 10.10   $   4.01   $     0.42   $     4.43
 2/18/2018 Marco A. Colin                        $10.00       50.32   $ 10.10   $   5.03   $    52.10   $    57.13
 2/25/2018 Marco A. Colin                        $10.00       51.37   $ 10.10   $   5.14   $    57.40   $    62.54
  3/4/2018 Marco A. Colin                        $10.00       53.47   $ 10.10   $   5.35   $    68.01   $    73.35
 3/25/2018 Marco A. Colin                        $10.00       49.62   $ 10.10   $   4.96   $    48.56   $    53.53
  4/1/2018 Marco A. Colin                        $10.00       62.80   $ 10.10   $   6.28   $   115.14   $   121.42
  4/8/2018 Marco A. Colin                        $10.00       56.53   $ 10.10   $   5.65   $    83.49   $    89.15



                                                         12
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 14 of 16 PageID: 2006
                                                    Exhibit 7
                                            Connecticut Computations

  Week                                                            State  Section 7: Section 7: Total Section 7
                                                Hourly    Hours/
 Ending                   Name                                   Minimum Regular Half-Time Overtime Back
                                                 Rate     Week
  Date                                                            Wage   Rate Due     Due       Wages Due
 4/15/2018 Marco A. Colin                        $10.00       60.60   $ 10.10   $    6.06   $   104.03   $   110.09
 4/22/2018 Marco A. Colin                        $10.00       59.52   $ 10.10   $    5.95   $    98.56   $   104.51
 4/29/2018 Marco A. Colin                        $10.00       59.22   $ 10.10   $    5.92   $    97.04   $   102.97
  5/6/2018 Marco A. Colin                        $10.00       60.22   $ 10.10   $    6.02   $   102.09   $   108.12
 5/13/2018 Marco A. Colin                        $10.00       57.00   $ 10.10   $    5.70   $    85.85   $    91.55
 5/20/2018 Marco A. Colin                        $10.00       58.90   $ 10.10   $    5.89   $    95.45   $   101.34
 5/27/2018 Marco A. Colin                        $10.00       48.78   $ 10.10   $    4.88   $    44.36   $    49.23
  6/3/2018 Marco A. Colin                        $10.00       42.80   $ 10.10   $    4.28   $    14.14   $    18.42
 6/10/2018 Marco A. Colin                        $10.00       51.18   $ 10.10   $    5.12   $    56.48   $    61.59
 1/28/2018 Matthew Caez                          $12.00       45.37   $ 10.10               $    32.20   $    32.20
  9/8/2019 Nelson Enrique Carbajal Garcia        $14.00       58.13   $ 10.10               $   126.93   $   126.93
 9/15/2019 Nelson Enrique Carbajal Garcia        $14.00       49.72   $ 10.10               $    68.02   $    68.02
 9/22/2019 Nelson Enrique Carbajal Garcia        $14.00       58.87   $ 10.10               $   132.07   $   132.07
 9/29/2019 Nelson Enrique Carbajal Garcia        $14.00       58.37   $ 10.10               $   128.57   $   128.57
 10/6/2019 Nelson Enrique Carbajal Garcia        $14.00       58.43   $ 10.10               $   129.03   $   129.03
10/13/2019 Nelson Enrique Carbajal Garcia        $14.00       48.52   $ 10.10               $    59.62   $    59.62
10/20/2019 Nelson Enrique Carbajal Garcia        $14.00       47.70   $ 10.10               $    53.90   $    53.90
10/27/2019 Nelson Enrique Carbajal Garcia        $14.00       58.00   $ 10.10               $   126.00   $   126.00
 11/3/2019 Nelson Enrique Carbajal Garcia        $14.00       57.03   $ 10.10               $   119.23   $   119.23
11/10/2019 Nelson Enrique Carbajal Garcia        $14.00       46.53   $ 10.10               $    45.73   $    45.73
11/17/2019 Nelson Enrique Carbajal Garcia        $14.00       57.42   $ 10.10               $   121.92   $   121.92
11/24/2019 Nelson Enrique Carbajal Garcia        $14.00       57.12   $ 10.10               $   119.82   $   119.82
 12/1/2019 Nelson Enrique Carbajal Garcia        $14.00       46.70   $ 10.10               $    46.90   $    46.90
 12/8/2019 Nelson Enrique Carbajal Garcia        $14.00       57.83   $ 10.10               $   124.83   $   124.83
12/15/2019 Nelson Enrique Carbajal Garcia        $14.00       53.67   $ 10.10               $    95.67   $    95.67
  1/5/2020 Nelson Enrique Carbajal Garcia        $14.00       45.75   $ 11.00               $    40.25   $    40.25
  7/7/2019 Nelson Salobo                          $9.00       50.45   $ 10.10   $   55.50   $    52.77   $   108.27
 7/14/2019 Nelson Salobo                          $9.00       49.77   $ 10.10   $   54.74   $    49.32   $   104.07
 7/21/2019 Nelson Salobo                          $9.00       60.07   $ 10.10   $   66.07   $   101.34   $   167.41
 7/28/2019 Nelson Salobo                          $9.00       61.97   $ 10.10   $   68.16   $   110.93   $   179.10
  8/4/2019 Nelson Salobo                          $9.00       60.13   $ 10.10   $   66.15   $   101.67   $   167.82
 8/11/2019 Nelson Salobo                          $9.00       48.87   $ 10.10   $   53.75   $    44.78   $    98.53
 8/18/2019 Nelson Salobo                          $9.00       63.85   $ 10.10   $   70.24   $   120.44   $   190.68
  6/9/2019 Nelson Salobo - Car Washer             $9.00       58.15   $ 10.10   $   63.97   $    91.66   $   155.62
 6/16/2019 Nelson Salobo - Car Washer             $9.00       62.17   $ 10.10   $   68.38   $   111.94   $   180.33
 6/23/2019 Nelson Salobo - Car Washer             $9.00       61.82   $ 10.10   $   68.00   $   110.17   $   178.17
 6/30/2019 Nelson Salobo - Car Washer             $9.00       62.48   $ 10.10   $   68.73   $   113.54   $   182.27
  2/4/2018 Osly Garcia                           $14.50       45.33   $ 10.10               $    38.67   $    38.67
 2/11/2018 Osly Garcia                           $14.50       45.33   $ 10.10               $    38.67   $    38.67
 2/18/2018 Osly Garcia                           $14.50       45.67   $ 10.10               $    41.08   $    41.08
 2/25/2018 Osly Garcia                           $14.50       45.77   $ 10.10               $    41.81   $    41.81
  3/4/2018 Osly Garcia                           $14.50       45.48   $ 10.10               $    39.75   $    39.75
10/13/2019 Samuel Vasquez Gomes                  $11.00       58.57   $ 10.10               $   102.12   $   102.12
10/20/2019 Samuel Vasquez Gomes                  $11.00       42.27   $ 10.10               $    12.47   $    12.47
10/27/2019 Samuel Vasquez Gomes                  $11.00       57.82   $ 10.10               $    97.99   $    97.99
 11/3/2019 Samuel Vasquez Gomes                  $11.00       56.95   $ 10.10               $    93.23   $    93.23
11/10/2019 Samuel Vasquez Gomes                  $11.00       47.02   $ 10.10               $    38.59   $    38.59
11/17/2019 Samuel Vasquez Gomes                  $11.00       47.95   $ 10.10               $    43.73   $    43.73
11/24/2019 Samuel Vasquez Gomes                  $11.00       57.10   $ 10.10               $    94.05   $    94.05
 12/1/2019 Samuel Vasquez Gomes                  $11.00       46.62   $ 10.10               $    36.39   $    36.39
 12/8/2019 Samuel Vasquez Gomes                  $11.00       47.72   $ 10.10               $    42.44   $    42.44



                                                         13
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 15 of 16 PageID: 2007
                                          Exhibit 7
                                  Connecticut Computations

  Week                                                  State  Section 7: Section 7: Total Section 7
                                      Hourly    Hours/
 Ending                Name                            Minimum Regular Half-Time Overtime Back
                                       Rate     Week
  Date                                                  Wage   Rate Due     Due       Wages Due
12/15/2019 Samuel Vasquez Gomes        $11.00       53.63   $ 10.10              $    74.98   $    74.98
12/22/2019 Samuel Vasquez Gomes        $11.00       45.77   $ 10.10              $    31.72   $    31.72
12/29/2019 Samuel Vasquez Gomes        $11.00       43.27   $ 10.10              $    17.97   $    17.97
  1/5/2020 Samuel Vasquez Gomes        $11.00       46.85   $ 11.00              $    37.68   $    37.68
 1/12/2020 Samuel Vasquez Gomes        $11.00       54.50   $ 11.00              $    79.75   $    79.75
 1/19/2020 Samuel Vasquez Gomes        $11.00       47.73   $ 11.00              $    42.53   $    42.53
 1/26/2020 Samuel Vasquez Gomes        $11.00       44.75   $ 11.00              $    26.13   $    26.13
 3/25/2018 Yordany Sosa                $10.00       58.72   $ 10.10   $   5.87   $    94.52   $   100.39
  4/1/2018 Yordany Sosa                $10.00       59.43   $ 10.10   $   5.94   $    98.14   $   104.08
  4/8/2018 Yordany Sosa                $10.00       59.13   $ 10.10   $   5.91   $    96.62   $   102.54
 4/15/2018 Yordany Sosa                $10.00       59.10   $ 10.10   $   5.91   $    96.46   $   102.37
 4/22/2018 Yordany Sosa                $10.00       59.30   $ 10.10   $   5.93   $    97.47   $   103.40
 4/29/2018 Yordany Sosa                $10.00       59.68   $ 10.10   $   5.97   $    99.40   $   105.37
  5/6/2018 Yordany Sosa                $10.00       60.28   $ 10.10   $   6.03   $   102.43   $   108.46
 5/13/2018 Yordany Sosa                $10.00       60.50   $ 10.10   $   6.05   $   103.53   $   109.58
 5/20/2018 Yordany Sosa                $10.00       59.53   $ 10.10   $   5.95   $    98.64   $   104.60
 5/27/2018 Yordany Sosa                $10.00       62.27   $ 10.10   $   6.23   $   112.45   $   118.67
  6/3/2018 Yordany Sosa                $10.00       55.77   $ 10.10   $   5.58   $    79.62   $    85.20
 6/10/2018 Yordany Sosa                $10.00       58.68   $ 10.10   $   5.87   $    94.35   $   100.22
 6/17/2018 Yordany Sosa                $10.00       58.53   $ 10.10   $   5.85   $    93.59   $    99.45
 6/24/2018 Yordany Sosa                $10.00       58.03   $ 10.10   $   5.80   $    91.07   $    96.87
  7/1/2018 Yordany Sosa                $10.00       53.45   $ 10.10   $   5.34   $    67.92   $    73.27
  7/8/2018 Yordany Sosa                $10.00       50.08   $ 10.10   $   5.01   $    50.92   $    55.93
 7/15/2018 Yordany Sosa                $10.00       62.40   $ 10.10   $   6.24   $   113.12   $   119.36
 7/22/2018 Yordany Sosa                $10.00       63.08   $ 10.10   $   6.31   $   116.57   $   122.88
 7/29/2018 Yordany Sosa                $10.00       59.72   $ 10.10   $   5.97   $    99.57   $   105.54
  8/5/2018 Yordany Sosa                $10.00       60.23   $ 10.10   $   6.02   $   102.18   $   108.20
 8/12/2018 Yordany Sosa                $10.00       61.28   $ 10.10   $   6.13   $   107.48   $   113.61
 8/19/2018 Yordany Sosa                $10.00       61.83   $ 10.10   $   6.18   $   110.26   $   116.44
 8/26/2018 Yordany Sosa                $10.00       52.62   $ 10.10   $   5.26   $    63.71   $    68.98
 12/2/2018 Yordany Sosa                $10.00       58.15   $ 10.10   $   5.81   $    91.66   $    97.47
 12/9/2018 Yordany Sosa                $10.00       58.72   $ 10.10   $   5.87   $    94.52   $   100.39
12/16/2018 Yordany Sosa                $10.00       58.18   $ 10.10   $   5.82   $    91.83   $    97.64
12/23/2018 Yordany Sosa                $10.00       56.03   $ 10.10   $   5.60   $    80.97   $    86.57
 1/13/2019 Yordany Sosa                $10.00       57.77   $ 10.10   $   5.78   $    89.72   $    95.50
 1/20/2019 Yordany Sosa                $10.00       43.43   $ 10.10   $   4.34   $    17.34   $    21.68
 1/27/2019 Yordany Sosa                $10.00       56.65   $ 10.10   $   5.66   $    84.08   $    89.75
  2/3/2019 Yordany Sosa                $10.00       53.43   $ 10.10   $   5.34   $    67.84   $    73.18
 2/10/2019 Yordany Sosa                $10.00       56.62   $ 10.10   $   5.66   $    83.91   $    89.58
 2/17/2019 Yordany Sosa                $10.00       55.65   $ 10.10   $   5.56   $    79.03   $    84.60
 2/24/2019 Yordany Sosa                $10.00       48.25   $ 10.10   $   4.82   $    41.66   $    46.49
 3/10/2019 Yordany Sosa                $10.00       45.12   $ 10.10   $   4.51   $    25.84   $    30.35
 3/17/2019 Yordany Sosa                $10.00       43.57   $ 10.10   $   4.36   $    18.01   $    22.37
 3/24/2019 Yordany Sosa                $10.00       46.60   $ 10.10   $   4.66   $    33.33   $    37.99
 3/31/2019 Yordany Sosa                $10.00       55.62   $ 10.10   $   5.56   $    78.86   $    84.43
  4/7/2019 Yordany Sosa                $10.00       43.03   $ 10.10   $   4.30   $    15.32   $    19.62
 4/14/2019 Yordany Sosa                $10.00       53.33   $ 10.10   $   5.33   $    67.33   $    72.67
 4/21/2019 Yordany Sosa                $10.00       54.08   $ 10.10   $   5.41   $    71.12   $    76.53
 4/28/2019 Yordany Sosa                $10.00       55.35   $ 10.10   $   5.53   $    77.52   $    83.05
  5/5/2019 Yordany Sosa                $10.00       54.93   $ 10.10   $   5.49   $    75.41   $    80.91
 5/12/2019 Yordany Sosa                $10.00       54.02   $ 10.10   $   5.40   $    70.78   $    76.19



                                               14
Case 2:20-cv-17785-EP-LDW Document 78-9 Filed 05/11/23 Page 16 of 16 PageID: 2008
                                         Exhibit 7
                                 Connecticut Computations

  Week                                                 State  Section 7: Section 7: Total Section 7
                                     Hourly    Hours/
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                      Rate     Week
  Date                                                 Wage   Rate Due     Due       Wages Due
 5/19/2019 Yordany Sosa               $10.00       55.07   $ 10.10   $    5.51   $ 76.09    $    81.59
 5/26/2019 Yordany Sosa               $10.00       58.93   $ 10.10   $    5.89   $ 95.61    $   101.51
  6/2/2019 Yordany Sosa               $10.00       48.50   $ 10.10   $    4.85   $ 42.93    $    47.78
  6/9/2019 Yordany Sosa               $10.00       53.77   $ 10.10   $    5.38   $ 69.52    $    74.90
 6/16/2019 Yordany Sosa               $10.00       54.95   $ 10.10   $    5.49   $ 75.50    $    80.99
 6/23/2019 Yordany Sosa               $10.00       56.53   $ 10.10   $    5.65   $ 83.49    $    89.15
 6/30/2019 Yordany Sosa               $10.00       58.70   $ 10.10   $    5.87   $ 94.44    $   100.31
  7/7/2019 Yordany Sosa               $10.50       46.03   $ 10.10               $ 31.68    $    31.68
 7/14/2019 Yordany Sosa               $10.50       45.10   $ 10.10               $ 26.78    $    26.78
 7/28/2019 Yordany Sosa               $10.50       58.93   $ 10.10               $ 99.40    $    99.40
  8/4/2019 Yordany Sosa               $10.50       53.78   $ 10.10               $ 72.36    $    72.36
 8/11/2019 Yordany Sosa               $10.50       58.52   $ 10.10               $ 97.21    $    97.21
 8/18/2019 Yordany Sosa               $10.50       56.65   $ 10.10               $ 87.41    $    87.41
 8/25/2019 Yordany Sosa               $10.50       41.57   $ 10.10               $   8.22   $     8.22
  9/1/2019 Yordany Sosa               $10.50       56.75   $ 10.10               $ 87.94    $    87.94
  9/8/2019 Yordany Sosa               $10.50       56.43   $ 10.10               $ 86.28    $    86.28
 9/15/2019 Yordany Sosa               $10.50       45.67   $ 10.10               $ 29.75    $    29.75
 9/22/2019 Yordany Sosa               $10.50       56.80   $ 10.10               $ 88.20    $    88.20
 9/29/2019 Yordany Sosa               $10.50       57.22   $ 10.10               $ 90.39    $    90.39
 10/6/2019 Yordany Sosa               $10.50       56.08   $ 10.10               $ 84.44    $    84.44
10/13/2019 Yordany Sosa               $10.50       53.15   $ 10.10               $ 69.04    $    69.04
10/20/2019 Yordany Sosa               $10.50       56.10   $ 10.10               $ 84.53    $    84.53
10/27/2019 Yordany Sosa               $10.50       56.68   $ 10.10               $ 87.59    $    87.59
 11/3/2019 Yordany Sosa               $10.50       56.02   $ 10.10               $ 84.09    $    84.09
11/10/2019 Yordany Sosa               $10.50       58.02   $ 10.10               $ 94.59    $    94.59
11/17/2019 Yordany Sosa               $10.50       54.42   $ 10.10               $ 75.69    $    75.69
11/24/2019 Yordany Sosa               $10.50       58.07   $ 10.10               $ 94.85    $    94.85
 12/1/2019 Yordany Sosa               $10.50       48.15   $ 10.10               $ 42.79    $    42.79
 12/8/2019 Yordany Sosa               $10.50       58.58   $ 10.10               $ 97.56    $    97.56
12/15/2019 Yordany Sosa               $10.50       47.15   $ 10.10               $ 37.54    $    37.54
12/22/2019 Yordany Sosa               $10.50       47.82   $ 10.10               $ 41.04    $    41.04
  1/5/2020 Yordany Sosa               $10.50       45.17   $ 11.00   $   22.58   $ 28.42    $    51.00
 1/12/2020 Yordany Sosa               $10.50       58.80   $ 11.00   $   29.40   $ 103.40   $   132.80
 1/19/2020 Yordany Sosa               $10.50       57.92   $ 11.00   $   28.96   $ 98.54    $   127.50
 1/26/2020 Yordany Sosa               $10.50       58.22   $ 11.00   $   29.11   $ 100.19   $   129.30




                                              15
